      Case 3:17-cv-00939-WHA Document 541-1 Filed 06/02/17 Page 1 of 3




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  Attorneys for WAYMO LLC
                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                     DECLARATION OF LINDSAY COOPER
                                                  IN SUPPORT OF PLAINTIFF WAYMO
       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                  FILE UNDER SEAL PORTIONS OF ITS
 UBER TECHNOLOGIES, INC.;                      SUR-REPLY IN OPPOSITION TO
    OTTOMOTTO LLC; OTTO TRUCKING                  ANTHONY LEVANDOWSKI’S MOTION
 LLC,                                          FOR INTERVENTION UNDER RULE 24
                                                  AND MODIFICATION OF ORDER
                Defendants.                    GRANTING IN PART AND DENYING IN
                                                  PART PROVISIONAL RELIEF AND
                                               EXHIBITS THERETO
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                                                                     CASE NO. 3:17-cv-00939-WHA
                                     COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 541-1 Filed 06/02/17 Page 2 of 3




 1 I, Lindsay Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal Portions of its Sur-Reply in Opposition to Anthony Levandowski’s Motion for Intervention

 8 Under Rule 24 and Modification of Order Granting-In-Part and Denying-In-Part Provisional Relief

 9 and Exhibits Thereto, filed concurrently herewith (the “Administrative Motion”). The Administrative

10 Motion seeks an order sealing the following materials filed concurrently herewith:

11                   Document             Portions to Be Filed Under     Designating Party
                                                      Seal
12           Waymo’s Sur-Reply in         Highlighted Portions       Defendants
             Opposition to Anthony
13
             Levandowski’s Motion
14           for Intervention Under
             Rule 24 and Modification
15           of Order Granting-In-Part
             and Denying-In-Part
16           Provisional Relief (“Sur-
17           Reply”)
             Exhibits 2-3 to the       Entire Documents                  Defendants
18           Declaration of Patrick
             Schmidt (“Schmidt
19           Decl.”)
20
            3.      Waymo’s Sur-Reply contains references to information that Defendants have
21
     designated as confidential, and Schmidt Decl. Exhibits 2-3 have been designated confidential by
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     Defendants.
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            4.      Waymo expects Defendants to file one or more declarations in accordance with the
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     Local Rules.
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                                                    -2-                   CASE NO. 3:17-cv-00939-WHA
                                         COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 541-1 Filed 06/02/17 Page 3 of 3




 1          I declare under penalty of perjury under the laws of the State of California and the United

 2 States of America that the foregoing is true and correct, and that this declaration was executed in San

 3 Francisco, California, on June 2, 2017.

 4                                                By /s/ Lindsay Cooper
                                                     Lindsay Cooper
 5                                                   Attorneys for WAYMO LLC
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 7

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 9                                    SIGNATURE ATTESTATION

10          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

11 filing of this document has been obtained from Lindsay Cooper.

12
                                                  /s/ Charles K. Verhoeven
13                                                  Charles K. Verhoeven
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                                                     -3-                   CASE NO. 3:17-cv-00939-WHA
                                          COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
